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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 WAYNE BALLARD,
                                                                                  Docket No.:
                                        Plaintiff,                                24-CV-02944 (CS)

                                -against-
                                                                                  NOTICE OF MOTION
 THE COUNTY OF ROCKLAND, HON. THOMAS E.
 WALSH II, in his Official Capacity as District Attorney and
 Individually, PETER WALKER, in his Official Capacity as
 Chief Criminal Investigator and Individually, MATTHEW
 WOHL, in his Official Capacity as Investigator and
 Individually, and JOHN DOES 1-10 (Fictitious Names
 Intended to be Additional Parties Not Yet Known, the
 Identity and Number of Whom is Presently Unknown to
 Plaintiff) in their Official Capacities and Individually,

                                              Defendants.
 -----------------------------------------------------------------------------X

        PLEASE TAKE NOTICE, that upon the annexed declaration of Robert B. Weissman,

dated October 1, 2024, the annexed exhibits, the accompanying Memorandum of Law and all

papers and proceedings heretofore had herein, defendants Thomas E. Walsh II, Peter Walker and

Matthew Wohl (“the Individual Defendants”), by and through their attorneys Saretsky Katz

Dranoff Weissman & Maynard, L.L.P., will move this Court at the Courthouse located at 300

Quarropas Street, White Plains, New York 10601, before the Honorable Cathy Seibel of the United

States District Court, Southern District of New York on November 6, 2024 at 9:30 a.m. or as soon

thereafter as counsel may be heard for an Order:

            (i) dismissing plaintiff’s Second Amended Complaint as to the Individual
                Defendants; and

            (ii) granting such other and further relief as this Court deems just and proper.
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         PLEASE TAKE FURTHER NOTICE, that pursuant to the Court’s scheduling order,

answering papers, if any, are to be served upon the undersigned no later than October 23, 2024.

Dated:      Elmsford, N.Y.
            October 1, 2024                 Saretsky Katz Dranoff Weissman & Maynard, L.L.P.
                                            Attorneys for the Individual Defendants

                                     By:    __________________________________________
                                                         Robert B. Weissman

                                            565 Taxter Road, Suite 210
                                            Elmsford, New York 10523
                                            (212) 973-9797




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